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  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK
  ------------------------------------------------------------x
  In re:
                                                                  Chapter 11
  HANS FUTTERMAN,
                                                                  Case No.: 17-12899 (MEW)
                                       Debtor.
  -----------------------------------------------------------x



                                       DEBTOR’S PLAN OF
                               REORGANIZATION DATED APRIL 16, 2018




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                                                    I

                                            INTRODUCTION

          Hans Futterman, debtor and debtor-in-possession (the “Debtor”), hereby proposes the

 following plan of reorganization (the “Plan”) for the resolution of the Debtor’s outstanding

 Creditor Claims (as hereinafter defined). Reference is made to the Debtor’s disclosure statement

 dated April 16, 2018 (the “Disclosure Statement”), for a discussion of the Debtor’s history,

 business, assets and results of operations and a summary and analysis of this Plan and certain

 related matters.

          All holders of Claims entitled to vote to accept or reject this Plan are encouraged to

 review the Disclosure Statement and this Plan before voting to accept or reject this Plan. To the

 extent that this Plan is inconsistent with the Disclosure Statement, the terms of this Plan will

 govern. No materials other than the Disclosure Statement and exhibits and schedules attached

 thereto or referenced therein have been approved by the United States Bankruptcy Court for the

 Southern District of New York for use in soliciting acceptances or rejections of this Plan.

                                                   II

           DEFINITIONS, INTERPRETATION AND RULES OF CONSTRUCTION

          In addition to those capitalized terms that are defined in other Articles of the Plan, the

 following terms (that appear in this Plan as capitalized terms) have the following meanings as

 used in this Plan.

          1.        “123rd Street Property” means 254 West 123rd Street, Garden New York, NY

 10027.

          2.        “2280 FDB” means 2280 FDB LLC.

          3.        “Administrative Claim” means any cost or expense of administration of the

 Chapter 11 Case allowed under Section 503(b) of the Bankruptcy Code that is entitled to priority

 under Section 507(a)(2) of the Bankruptcy Code, including, without limitation, any actual and
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 necessary costs and expenses of preserving the Debtor’s estate, operating the Debtor’s business,

 all compensation and reimbursement of expenses of professionals allowed by the Bankruptcy

 Court under §§ 330, 331 and 503 of the Bankruptcy Code.

          4.        “Allowed Amount” shall mean the dollar amount of an Allowed Claim.

          5.        “Allowed Claim” means a Claim against the Debtor to the extent that the Claim

 is allowed pursuant to this Plan, or (a) a proof of such Claim was (i) timely Filed; or (ii) deemed

 timely Filed under applicable law or by reason of an order of the Bankruptcy Court; and (b)(i)

 after the applicable deadlines for filing an objection to the Claim in accordance with this Plan has

 passed, the Debtor has not Filed an objection or any such objection is withdrawn following the

 expiration of such applicable deadline(s); (ii) the Claim is allowed (but only to the extent

 allowed) by a Final Order, or (iii) the Claim is a Claim that was Scheduled by the Debtor in

 accordance with Rule 1007 of the Bankruptcy Rules and not listed as disputed, contingent or

 unliquidated. Prior to the time that an objection has been or may be timely Filed, for the

 purposes of this Plan, a Claim shall be considered an Allowed Claim if (a) the Claim has been

 Scheduled; (b) the amount of the Claim specified in any Filed proof of claim equals or is less

 than the amount of the Claim Scheduled by the Debtor as other than disputed, contingent or

 unliquidated; (c) the priority of the Claim specified in any Filed proof of claim is of an equal or

 more junior priority than the priority of the Claim Scheduled by the Debtor; and (d) the Claim

 has not been Scheduled as disputed, contingent or unliquidated.

          6.        “Allowed Class Claim” means an Allowed Claim in the particular class

 described.

          7.        “Bankruptcy Code” means title 11 of the United States Code, as the same was in

 effect on the Petition Date, as amended from time to time.




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          8.        “Bankruptcy Court” means the United States Bankruptcy Court for the Southern

 District of New York or such other Court as may hereafter be granted jurisdiction over the

 Chapter 11 Case.

          9.        “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, the

 local Bankruptcy Rules of the United States Bankruptcy Court for the Southern District of New

 York, and the guidelines and requirements of the Office of the United States Trustee for the

 Southern District of New York, as each may from time to time be in effect and applicable to the

 Reorganization Case and proceedings therein.

          10.       “Bar Date” means December 27, 2017, which was the deadline to file proofs of

 Claim in this Chapter 11 Case as provided by order of the Bankruptcy Court or any other

 deadline to file proof of claims set by the Bankruptcy Court or agreed to by the Debtor.

          11.       “Business Day” means any day other than a Saturday, Sunday, or a “legal

 holiday” as such term is defined in Bankruptcy Rule 9006(a).

          12.       “Cash” means lawful currency of the United States and cash equivalents.

          13.       “Chapter 11” means Chapter 11 of the Bankruptcy Code.

          14.       “Chapter 11 Case” means the Debtor’s Chapter 11 Case for reorganization under

 Chapter 11 of the Bankruptcy Code, Case Number 17-12899 (MEW) entitled In re: Hans

 Futterman now pending in the Bankruptcy Court.

          15.       “Claim” means a claim against the Debtor or its property as defined in Section

 101(5) and construed in Section 102(2) of the Bankruptcy Code.

          16.       "Claimant" means the holder of a Claim.

          17.       “Claims Register” means the list of Claims filed against the Debtor as

 maintained by the Clerk of the Court.

          18.       “Class” means a group of Claims consisting of Claims which are substantially

 similar to each other as classified pursuant to this Plan.
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          19.       “Clerk of the Court” means the Clerk of the United States Bankruptcy Court for

 the Southern District of New York with a street address at United States Bankruptcy Court,

 Southern District of New York, One Bowling Green, New York, New York 10004.

          20.       “Confirmation” means entry, within the meaning of Bankruptcy Rules 5003 and

 9021, of an order of the Bankruptcy Court confirming this Plan in accordance with the provisions

 of the Bankruptcy Code.

          21.       “Confirmation Date” means the date upon which the Confirmation Order is

 entered in the Bankruptcy Court.

          22.       “Confirmation Hearing” means the hearing to be held by the Bankruptcy Court

 pursuant to Section 1128 of the Bankruptcy Code to consider Confirmation of this Plan.

          23.       “Confirmation Order” means the order of the Bankruptcy Court confirming this

 Plan pursuant to §1129 of the Bankruptcy Code.

          24.       “Debtor” means Hans Futterman

          25.       “Debtor’s Case” shall have the same meaning as Chapter 11 Case herein.

          26.       “Debtor-in-Possession” means Hans Futterman, as debtor-in-possession in this

 Chapter 11 Case.

          27.       “Disbursing Agent” shall mean Reorganized Debtor, or such other entity as may

 be designated by the Bankruptcy Court or by this Plan.

          28.       “Disclosure Statement” means the Debtor’s Disclosure Statement to accompany

 this Plan, and all annexes, schedules or exhibits attached thereto or referenced therein, that relate

 to this Plan and that is approved by the Bankruptcy Court pursuant to §1125 of the Bankruptcy

 Code.

          29.       “Disputed Claim” means a Claim or a request for payment of an administrative

 expense, as the case may be, as to which: (a) a proof of claim or a request for payment of an

 administrative expense, as the case may be, has been filed with the Court or deemed filed under
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 applicable law or order of the Court; (b) an objection has been timely filed; and (c) such

 objection has not been (i) withdrawn, (ii) overruled or denied in whole or part by a Final Order,

 or (iii) granted in whole or in part by a Final Order. Prior to the time that an objection has been

 or may be timely filed, for purposes of this Plan, a Claim shall be considered a Disputed Claim:

 (i) to the extent and only to the extent the amount of the Claim specified in the proof of claim

 exceeds the amount of any corresponding Claim listed by the Debtor in its Schedules; (ii) any

 corresponding Claim has been listed by the Debtor in its Schedules as disputed, contingent or

 unliquidated, irrespective of the amount scheduled; or (iii) if no corresponding Claim has been

 listed by the Debtor in its Schedules.

          30.       “Distribution Dates” means any Business Day on or after the Effective Date on

 or by which Distributions of Cash are made pursuant to this Plan.

          31.       “Distributions” means the payments of Cash to creditors and others (e.g.,

 Professional Persons) pursuant to and required by this Plan and, as context requires, issuance of

 Equity Interests.

          32.        “Effective Date” means the fifteenth (15) day after entry of the Confirmation

 Order.

          33.       “Estate” means the estate created in a Chapter 11 Case under §541 of the

 Bankruptcy Code.

          34.       “Executory Contract” means each agreement, contract or unexpired lease to

 which any Debtor is a party and which is executory within the meaning of §365 of the

 Bankruptcy Code.

          35.       “Face Amount” means, with respect to any Claim, (a) if the holder of such Claim

 has not timely filed a proof of Claim thereof with the Bankruptcy Court, the amount, if any, of

 such Claim Scheduled and not listed as disputed, contingent or unliquidated; (b) if the holder of

 such Claim has timely filed proof thereof with the Bankruptcy Court, and the Debtor has not
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 filed an objection, the amount stated in such proof; or (c) if a Claim has become an Allowed

 Claim pursuant to a Final Order, the amount of such creditor’s Allowed Claim.

          36.       “Final Order” means an order or judgment of the Bankruptcy Court or other

 court of competent jurisdiction, as entered on the docket of such court which, not having been

 reversed, modified, amended, or stayed, and the time for seeking review of which by way of

 appeal, petition for certiorari, motion for reargument and rehearing or other review having

 expired, and as to which no appeal, petition for certiorari, motion for reargument and rehearing

 or other review is pending, has become conclusive of all matters adjudicated thereby and is in

 full force and effect.

          37.        “Governmental Unit” shall have the meaning set forth at §101(27) of the

 Bankruptcy Code.

          38.       “Mann Claim” means Harlem Mann LLC’s Claim filed in the Court’s Claims

 Register as Claim No. 2 on November 21, 2017 in the amount of $1,618,650.

          39.       “Ladera Chapter 11 Case” means collectively the jointly administered chapter

 11 cases of Ladera Parent LLC and Ladera LLC, Case No: 16-13382 and 16-13383.

          40.        “Lien” means any charge against, or interest in, property to secure payment of a

 debt or performance of an obligation and includes, without limitation, any judicial lien, security

 interest, mortgage, deed of trust or statutory lien.

          41.        “Person” shall have the meaning ascribed to such term in §101(41) of the

 Bankruptcy Code.

          42.       “Petition Date” means October 17, 2017, the date the Debtor filed its voluntary

 Chapter 11 petition with the Bankruptcy Court.

          43.       “Plan” means this plan of reorganization, as altered, amended or modified from

 time to time, and all attachments and exhibits thereto and shall constitute a separate Plan for each

 of the Debtor.
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          44.       “Pine Bush Property” means 1 Burlingham Road, Pine Bush, NY 12566.

          45.       “Priority Claim” means any Allowed Claim entitled to priority pursuant to

 Section 507(a) of the Bankruptcy Code, other than (a) an Administrative Claim, or (b) a Priority

 Tax Claim.

          46.       “Priority Tax Claim” means a Claim by a Governmental Unit entitled to priority

 pursuant to any provision of Section 507(a)(8) of the Bankruptcy Code.

          47.        “Professional” or “Professional Person” means all attorneys, accountants,

 consultants or other Persons retained under an order of the Court on behalf of the Debtor in

 accordance with Section 327 or 1103 of the Bankruptcy Code and to be compensated for services

 rendered pursuant to Sections 327, 328, 330 and 331 of the Bankruptcy Code.

          48.        “Reorganized Debtor” shall mean the Debtor on or after the Effective Date and

 may refer to such Debtor by name as defined herein.

          49.       “RWN” shall mean RWNIH-DL 122nd Street 1 LLC.

          50.       “RWN Claim” means RWN’s Claim filed in the Court’s Claims Register as

 Claim No. 3 on December 12, 2017 in the amount of $10,729,240.

          51.       “Scheduled” means as set forth in the Schedules.

          52.       “Schedules” means the Schedules of Assets and Liabilities and the Statement of

 Financial Affairs filed by the Debtor as required by Section 521 of the Bankruptcy Code and the

 Official Bankruptcy Forms of the Bankruptcy Rules, as the same have been or may be amended

 from time to time.

          53.       “Secured Claim” means a Claim that is either (a) secured by a valid perfected

 and enforceable Lien on property of the Debtor that is not subject to avoidance under the

 Bankruptcy Code or applicable non-bankruptcy law, but only to the extent of the value as set

 forth in an Allowed Claim or as determined by Final Order in accordance with Section 506(a) or

 1111(b) of the Bankruptcy Code, of the interest of the claimant in the Debtor’s property securing
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 such Claim, or (b) for which the holder asserts a valid setoff under Section 553 of the

 Bankruptcy Code. To the extent that the amount claimed by the holder of a Secured Claim

 exceeds the value (as determined by the Court pursuant to Section 506 of the Bankruptcy Code

 and Bankruptcy Rules 3012, 7001 and 9014 or as otherwise agreed to by the holder of such

 Claim and the Debtor) of the property securing such Claim, the holder of such Secured Claim

 shall have a Deficiency Claim equal to the amount of the excess.

          54.       “Unit D” means the condominium unit known as 265 West 122nd Street, New

 York, NY, Unit D

          55.        “Unsecured Claim” means a Claim against the Debtor that is not an

 Administrative Claim, Priority Tax Claim, Priority Claim or Secured Claim.

 B.       Interpretation, Rules of Construction, Computation of Time, and Choice of Law

          In the event of a conflict between this Plan and the Disclosure Statement, the contents of

 this Plan shall control over the contents of the Disclosure Statement. The provisions of the

 Confirmation Order shall control over the contents of this Plan.

          Any term used in this Plan that is not otherwise defined in this Plan either in Article II.A

 (Definitions) or elsewhere, but that is used in the Bankruptcy Code or the Bankruptcy Rules has

 the meaning assigned to that term in (and shall be construed in accordance with the rules of

 construction under) the Bankruptcy Code or the Bankruptcy Rules.              Without limiting the

 foregoing, the rules of construction set forth in Section 102 of the Bankruptcy Code shall apply.

 The definitions and rules of construction contained herein shall also apply to the Disclosure

 Statement and to the exhibits to this Plan except to the extent expressly so stated in the

 Disclosure Statement or in each particular exhibit to this Plan.

          The words "herein,” "hereof,” "hereto,” "hereunder,” and others of similar import refer to

 this Plan as a whole and not to any particular Article, Section, Subsection, or Clause contained in



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 this Plan.      The word “including” shall mean “including, without limitation” and shall be

 interpreted in accordance with Section 102(3) of the Bankruptcy Code.

          Any reference in this Plan to an existing document or exhibit means such document or

 exhibit, as it may have been amended, restated, modified, or supplemented as of the Effective

 Date.

          Captions and headings to Articles, Sections, Subsections, and Clauses in this Plan are

 inserted for convenience of reference only and shall neither constitute a part of this Plan nor in

 any way affect the interpretation of the provisions hereof.

          Whenever from the context it is appropriate, each term stated in either the singular or the

 plural shall include both the singular and the plural.

          In computing any period of time prescribed or allowed by this Plan, the provisions of

 Bankruptcy Rule 9006(a) shall apply.

          All exhibits to this Plan are incorporated into this Plan, and shall be deemed to be

 included in this Plan, regardless of when they are filed.

          Subject to the provisions of any contract, certificate, bylaws, instrument, release, or other

 agreement or document entered into in connection with the Plan, the rights and obligations

 arising under this Plan shall be governed by, and construed and enforced in accordance with

 federal law, including the Bankruptcy Code and Bankruptcy Rules.

                                                   III

                                 DESIGNATION OF CLASSES OF CLAIMS

          The following is a designation of the Classes of Claims under this Plan. Administrative

 Claims (including fees and expenses of Professional Persons allowed in a Final Order of the

 Bankruptcy Court), Priority Claims and statutory fees due to the United States Trustee have not

 been classified and are excluded from the following Classes in accordance with Section

 1123(a)(1) of the Bankruptcy Code. A Claim is classified in a particular Class only to the extent
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 that the Claim qualifies within the description of that Class and is classified in a different Class

 to the extent that any remainder of the Claim qualifies within the description of such different

 Class.

 A.       Class 1 – TD Bank’s Secured Claim

          Class 1 consists of TD Bank’s first mortgage secured by Unit D.

 B.       Class 2 – U.S. Bank National Association as Trustee’s Secured Claim

          Class 2 consists of U.S. Bank National Association as Trustee’s first mortgage secured by

 the 123rd Street Property.

 C.       Class 3 – People’s United Bank, N.A.’s Secured Claim

          Class 3 consists of People’s United Bank, N.A.’s first mortgage secured by the Pine Bush

 Property

 D.       Class 4 – Harlem Mann LLC’s Secured Claim

          Class 4 consists of the Mann Claim.

 E.       Class 5 – Unsecured Claims

          Class 5 consists of holders of Unsecured Claims.

                                                     IV

                                     TREATMENT OF CLASSES OF CLAIMS
                                        AND UNCLASSIFIED CLAIMS

 A.       Unclassified Claims

          1.        United States Trustee Fees

          All fees payable by the Debtor under Section 1930 of Title 28 of the United States Code

 that have not been paid prior to the Effective Date shall be paid by the Debtor, the Reorganized

 Debtor or the Disbursing Agent on the Effective Date. In addition, the Debtor, or any successor

 thereto by merger, consolidation or otherwise, on or after the Effective Date, shall be liable for,

 and the Disbursing Agent on behalf of the Reorganized Debtor shall pay, such fees until the


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 entry of a final decree in this case or until the case is converted or dismissed. The Disbursing

 Agent shall file post-confirmation operating reports with the Bankruptcy Court and the United

 States Trustee until a final decree is entered.

          2.        Administrative Claims

                    (a)       Generally

                    Except as provided otherwise in this Article IV of this Plan, each holder of an

 Allowed Administrative Claim (including, without limitation, the fees and expenses incurred by

 Professional Persons) allowed by a Final Order of the Bankruptcy Court) and Allowed

 Administrative Claims arising under Bankruptcy Code §503(b)(9)) shall be paid in full, in Cash,

 by the Debtor, the Reorganized Debtor, or the Disbursing Agent (i) on the later to occur of the

 Effective Date or the date the order allowing such Administrative Claim becomes a Final Order,

 or (ii) upon such other terms as may exist in the Debtor’s or the Reorganized Debtor’s ordinary

 course of business; or (iii) upon such terms as may exist pursuant to Order of the Bankruptcy

 Court or an agreement between such Allowed Administrative Claimholder and the Debtor or

 Reorganized Debtor.

                    (b)       Accounts Payable and Other Obligations Which Arose Post-Petition

                    Administrative Claims representing obligations incurred by the Debtor or the

 Reorganized Debtor after the Confirmation Date shall not be subject to application to the

 Bankruptcy Court and may be paid by the Reorganized Debtor in the ordinary course of business

 and without further Bankruptcy Court approval.

                    (c)       Professional Fees and Expenses

                    As more fully set forth herein, after the Confirmation Date, the Reorganized

 Debtor shall, in the ordinary course of business and without the necessity for any approval by the

 Court, pay the reasonable fees and expenses of the Professional Persons employed by the

 Reorganized Debtor in connection with the implementation and consummation of this Plan, the
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 claims reconciliation process and any other matters as to which the Reorganized Debtor shall

 engage or retain such Professional Persons. The fees and expenses of such Professional Persons

 shall be submitted monthly to the Reorganized Debtor by such Professional Persons in the form

 of a detailed invoice therefor, and shall be paid by the Disbursing Agent within ten (10) Business

 Days after such submission. If the Reorganized Debtor disputes the reasonableness of any such

 invoice within the lesser of (a) ten (10) days of receipt of such proposed fees or (b) fourteen (14)

 days after transmittal to the Reorganized Debtor, the Disbursing Agent shall timely pay the

 undisputed portion of such invoice, and the Reorganized Debtor, or the affected Professional

 Person may, after attempting to resolve the dispute, submit such dispute to the Bankruptcy Court

 for a determination of the reasonableness of such invoice.

 B.       Treatment of Class 1 Secured Claim of TD Bank

          Class 1 is unimpaired under the Plan and not entitled to vote for or against the Plan. The

 holder of the Class 1 Claim shall retain the legal, equitable, and contractual rights to which TD

 Bank is entitled to under the applicable loan documents and mortgage. Notwithstanding any

 contractual provisions that entitles TD Bank to demand or receive accelerated payments of such

 claim after the occurrence of a default, TD Bank’s Allowed Claim may be satisfied by (i) the

 curing of any payment or performance defaults that occurred before or after the commencement

 of the Debtor’s chapter 11 filing, (ii) the reinstatement of the original maturity of such claim, (iii)

 compensation for any damages incurred as result of any reasonable reliance by the TD Bank on

 such contractual provisions, and (iv) does not “otherwise alter the legal, equitable or contractual

 rights” of TD Bank. TD Bank shall retain its lien on Unit D to the same extent and priority as

 existed on the Petition Date.

 C.       Treatment of Class 2 Secured Claim of U.S. Bank National Association as Trustee

          Class 2 is unimpaired under the Plan and not entitled to vote for or against the Plan. The

 holder of the Class 2 Claim shall retain the legal, equitable, and contractual rights to which U.S.
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 Bank National Association as Trustee is entitled to under the applicable loan documents and

 mortgage. Notwithstanding any contractual provisions that entitles U.S. Bank National

 Association to demand or receive accelerated payments of such claim after the occurrence of a

 default, U.S. Bank National Association’s Allowed Claim may be satisfied by (i) the curing of

 any payment or performance defaults that occurred before or after the commencement of the

 Debtor’s chapter 11 filing, (ii) the reinstatement of the original maturity of such claim, (iii)

 compensation for any damages incurred as result of any reasonable reliance by the U.S. Bank

 National Association on such contractual provisions, and (iv) does not “otherwise alter the legal,

 equitable or contractual rights” of U.S. National Association as Trustee. U.S. Bank National

 Association shall retain its lien on 123rd Street Property to the same extent and priority as existed

 on the Petition Date. .

 D.       Treatment of Class 3 Secured Claim of People’s United Bank, N.A.

          The Class 3 Claim is impaired as the Plan proposes to alter the terms, conditions and

 payment schedule for People’s United’s claim over a three year period. People’s United is to be

 paid the full amount of its claim plus interest at 5.5% as follows. Beginning on the first day of the

 third month following the Effective Date the Reorganized Debtor will make payments of $3,000 per

 month to People’s United for 36 months from the first payment as set forth above and on or before

 the first day of the 40th month from the Effective Date, the Reorganized Debtor shall pay the

 balance of People’s United’s Secured Claim by either a sale and/or refinance the Pine Bush

 Property. Class 3 Claim is entitled to vote for or against the Plan.

 E.       Treatment of Class 4 (Mann Claim)

          The Mann Claim shall be deemed an Allowed Secured Claim, secured only to the extent of

 any interest which Mann has in the Debtor’s property pursuant to the promissory note and any

 related agreements and the UCC financing statement attached to the Mann Claim. The Mann Claim

 shall be paid as follows. On the Effective Date, the Debtor shall pay $100,000 to Mann. The
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 remaining $900,000 shall be paid to Mann from the distributions received from RGS on account of

 the proceeds of the liquidation of the remaining assets of 2280 FDB. Payments to Mann shall be

 made at the time the Debtor receives such distributions and shall consist of at least twenty five

 percent (25%) of each such distribution until the $900,000 has been fully paid. No interest shall

 accrue on the Mann Claim. Class 4 Claim is impaired and entitled to vote for or against the Plan.

 F.       Treatment of Allowed Class 5 Unsecured Claims

          Holders of Allowed Class 5 Claims shall be paid in full with post-petition interest from the

 Petition Date at 3% per year over a period of three years from the Effective Date assuming the

 RWN Claim is expunged. The Debtor will obtain the funds to pay Allowed Class 5 Claims from

 distributions received through RGS from the liquidation of the remaining assets of 2280 FDB. In the

 event the RWN Claim is determined to be an Allowed Claim by Final Order at an amount of $5

 million or more, the Plan will be deemed modified to provide that holders of Allowed Class 5

 Claims shall be paid in full plus post-petition interest from the Petition Date at 3% per annum over a

 period of five years. These payments shall be made from the distributions received through RGS

 from the liquidation of the remaining assets of 2280 FDB and liquidation or refinancing of other

 assets if and as necessary. Holders of Allowed Class 5 Claims and the Reorganized Debtor may

 agree to less favorable payment terms and such agreement is only binding if in writing executed by

 the Reorganized Debtor and the holder of such Class 5 Allowed Claim. Class 5 is impaired as that

 term is defined in section 1124 of the Bankruptcy Code and entitled to vote for or against the Plan.

 G.       Controversy with Respect to Impairment

          In the event of a controversy as to whether a holder of a Claim is impaired, the Court

 shall, after notice and a hearing, determine such controversy.




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                                                   V

         TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

 A.       Treatment of Executory Contracts and Unexpired Leases

          As of the date the Plan is confirmed, unless rejected by a notice of rejection filed and

 served by the Debtor at least 10 days prior to the initial Confirmation Hearing, any executory

 contract or unexpired lease of entered into by the Debtor that has not yet been (a) assumed and

 assigned, or (b) assumed, shall be deemed to be assumed by the Debtor as of the Confirmation

 Date. The Confirmation Order shall be deemed an order under § 365(a) of the Bankruptcy Code

 assuming any such executory contracts or leases of personal property.

                                                   VI

             MEANS FOR EXECUTION AND IMPLEMENTATION OF THE PLAN

 A.       Funding of the Plan

          This Plan will be funded primarily from the monies the Debtor receives through the

 liquidation of 2280 FDB’s remaining assets which consist of five residential condominium, a

 community facility and one retail condominium unit totaling approximately 15,000 sq. ft. The

 Debtor estimates the value of these assets to be approximately $20 million of which the Debtor

 indirectly owns 80%. The Debtor expects a process will soon be put in place for 2280 FDB with

 respect to a procedure for liquidating 2280 FDB’s remaining assets. The Debtor will liquidate

 and/or refinance additional assets if and as needed. Ellen is also in the process of selling Unit C

 at the building located 265 West 122nd Street, New York, New York. Based upon the sale price

 and the mortgages on this unit, Ellen should receive net proceeds of approximately $500,000 a

 portion of which she will allow the Debtor to utilize to fund the Plan and pay professional fees as

 well as cure costs to the holders of the purchase money mortgages on the various pieces of real

 estate owned by Ellen and the Debtor as set forth above.
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 B.       Transfer Taxes

          There will be no Transfer Taxes owed on any transaction in connection with or in

 contemplation of the Plan.

                                                  VII

                            OBJECTIONS TO CLAIMS AND PROCEDURES
                             FOR RESOLVING AND TREATING CLAIMS

 A.       Objections to Claims

          All objections to Claims shall be filed by the Debtor and served on the holders of such

 Claims within sixty (60) days after the Confirmation Date. If the objection to a proof of Claim

 that relates to a Disputed Claim has not been filed by the applicable date, the Claim to which the

 proof of Claim relates shall be treated as an Allowed Claim for purposes of Distributions under

 the Plan.

 B.       Resolution of Disputed Claims

          Disputed Claims shall be divided into two (2) portions: the “non-disputed portion” and

 the “disputed portion.” The Reorganized Debtor shall pay the non-disputed portion of a Disputed

 Claim in accordance with Plan provisions for payment of a Claim in its Class.

 C.       Estimation

          The Debtor or the Reorganized Debtor may, at any time, request that the Court estimate

 any Disputed Claim pursuant to § 502(c) of the Bankruptcy Code regardless of whether the

 Debtor or the Reorganized Debtor have previously objected to such Claim. The Court will retain

 jurisdiction to estimate any Claim at any time, including during litigation concerning any

 objection to such Claim.

 D.       Allowance of Disputed Claims

          If, on or after the Effective Date, any Disputed Claim becomes an Allowed Claim, the

 Disbursing Agent shall, within thirty (30) days after the date on which the Claim becomes an


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 Allowed Claim, or as soon thereafter as is practicable, pay to the holder of such Allowed Claim

 the amount of Cash that such holder would have been entitled to receive under the Plan if such

 disputed portion of such Claim had been an Allowed Claim on the Effective Date.

                                                 VIII

                          PROVISIONS CONCERNING CAUSES OF ACTION

          The Reorganized Debtor waives the right to commence any claims arising under §§ 544

 through 550 of the Bankruptcy Code. The Reorganized Debtor specifically retains any other

 cause of auction including any claims pursuant to Rule 60(b) of the Federal Rules of Civil

 Procedure and section 363(n) of the Bankruptcy Code with respect to the Sale Order entered in

 the Ladera Chapter 11 Case.

                                                   IX

                              PROVISIONS GOVERNING DISTRIBUTIONS

 A.       Disbursing Agent

          The Reorganized Debtor shall act as Disbursing Agent under the Plan. Hans Futterman

 shall be in charge of all matters relating to the Distributions required by the Plan. In the event

 that the Disbursing Agent changes prior to the, entry of an order of final decree closing the

 Debtor’s Chapter 11 case, the Bankruptcy Court and the United States Trustee shall be notified

 in writing of the identity and address of the new Disbursing Agent.

 B.       Unclaimed Distributions

          Distributions to holders of Allowed Claims shall be made at the address of each such

 holder as set forth on the proofs of Claim filed by such holders unless no Proof of Claim has

 been filed, in which case then to the address set forth on the Schedules filed with the Court,

 unless superseded by a written notice to the Disbursing Agent providing actual knowledge to the

 Disbursing Agent of a change of address.

          If any holder’s Distribution is returned as undeliverable, no further Distributions to such
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 holder shall be made unless and until the Disbursing Agent is notified in writing of such holder’s

 then current address, at which time all Distributions shall be made to such holder, without

 interest.

 C.       Professional Fees and Expenses

          Each of the Professionals requesting compensation for services rendered and

 reimbursements disbursed in the Chapter 11 Case shall file an application for an allowance of

 final compensation and reimbursement of expenses in the Chapter 11 Case incurred through the

 Confirmation Date within thirty (30) days after entry of the Confirmation Order.

 D.       Rounding

          Whenever any payment of a fraction of a cent would otherwise be called for, the actual

 payment shall reflect the rounding of such fraction to the nearest whole cent with the one-half

 cent being rounded up to the nearest whole cent.

                                                   X

                         PLAN INJUNCTION AND VESTING OF PROPERTY

          1.        Injunction and Stays

          Except as otherwise expressly provided herein and related documents, all persons or

 entities who have held, hold or may hold claims against the Debtor are, with respect to any

 such Claims, permanently enjoined on and after the Confirmation Date from: (a)

 commencing, conducting or continuing in any manner directly or indirectly, any suit,

 action or other proceeding of any kind (including without limitation, any proceeding in a

 judicial, arbitral, administrative or other forum) against or affecting the Debtor or the

 Reorganized Debtor, any of its property, or any direct or indirect transferee of any

 property of, or direct or indirect successor-in-interest to, any of the foregoing persons or

 entities, (b) enforcing, levying, attaching, collecting or otherwise recovering by any manner

 or means, whether directly or indirectly, of any judgment, award, decree or order against
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 the Debtor or the Reorganized Debtor, any of his property, or any direct or indirect

 transferee of any property of, or direct or indirect successor-in-interest to, any of the

 foregoing persons or entity, or any property of any such transferee or successor, (c)

 creating, perfecting or otherwise enforcing in any manner, directly or indirectly, any

 encumbrance or lien of any kind against the Debtor or the Reorganized Debtor, any of his

 property, or any direct or indirect transferee of any property of, or successor-in-interest to,

 any of the foregoing persons or entities, and (d) asserting any setoff, right of subrogation or

 recoupment of any kind, directly or indirectly, against any obligation due the Debtor or the

 Reorganized Debtor, any of his property, or any direct or indirect transferee of any

 property of, or successor-in-interest to, any of the foregoing persons or entities.

          2.        Vesting of Property in the Reorganized Debtor

          As of the Effective Date, all assets of the Debtor shall vest in the Reorganized Debtor,

 free and clear of all Liens, Claims and Interests, except as otherwise provided in this Plan or the

 Confirmation Order.

                                                   XI

                                              CRAM DOWN

          In the event Classes of Claims do not vote to accept this Plan, the Debtor reserves its

 right to invoke the “Cram Down” provisions of Bankruptcy Code §1129(b). In the event the

 Debtor exercises such right, the Debtor reserves the right to modify this Plan to the extent, if any,

 the confirmation of this Plan under §1129(b) of the Bankruptcy Code requires modification.




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                                                   XII

                                     RETENTION OF JURISDICTION

 A.       Retained Jurisdiction

          From and after the Confirmation Date and until such time as the Chapter 11 Case are

 closed, the Bankruptcy Court shall retain jurisdiction over the Debtor’s Chapter 11 Case for all

 purposes permitted under the Code, including, without limitation, the following:

          1.        To hear and determine any dispute relating to the Plan.

          2.        To hear and determine all issues arising out of any motions, applications,

 adversary proceedings or contested or litigated matters in the Chapter 11 Case pending at the

 Confirmation Date or commenced thereafter.

          3.        To order recovery of any assets of the Debtor, whether title is presently held in the

 name of the Debtor or a third party.

          4.        To hear and determine motions to approve the sale of assets of the Debtor under §

 363 of the Bankruptcy Code and/or the rejection or assumption of executory contracts under §

 365 of the Bankruptcy Code.

          5.        To hear and determine all issues relating to any purchases, sales or contracts made

 or undertaken by the Debtor during the pendency of the Chapter 11 Case.

          6.        To hear and determine all objections to Claims and all controversies concerning

 classification, allowance, valuation, liquidation, estimation, or satisfaction of Claims.

          7.        To make orders allowing amendment of the schedules filed in the Chapter 11

 Case for any purpose including, without limitation, to prosecute objections to Claims not

 previously listed as disputed, contingent or unliquidated.

          8.        To hear and determine all applications for compensation of professional and

 similar fees and reimbursement of expenses arising out of or relating to the case or any Claims.

          9.        To hear and determine any and all motions to abandon property of the Debtor’s
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 Estate.

           10.      To make such other orders or give such directions as permitted by § 1142 of the

 Bankruptcy Code.

           11.      To consider and order any modifications or amendments requested to the Plan.

           12.      To remedy any defect or omission or reconcile any inconsistency in the Plan or

 the Confirmation Order in such manner as may be necessary or desirable to carry out the

 purposes and intent of the Plan.

           13.      To make all orders necessary or appropriate to carry out the provisions of the

 Plan.

           14.      To enforce all orders previously entered by the Bankruptcy Court.

           15.      To determine such other matters as may be provided for in the Confirmation

 Order or as may be authorized under the Bankruptcy Code.

                                                  XIII

                                                NOTICES

           Except as otherwise herein provided, all notices required to be made in or under this Plan

 shall be in writing and shall be mailed by registered or certified mail, return receipt requested:

           If to the Debtor or the Disbursing Agent:

                                           Hans Futterman
                                           265 West 122nd Street, Unit D
                                           New York, New York 10027

           With a copy to:                 Tarter Krinsky & Drogin LLP
                                           1350 Broadway, 11th Floor
                                           New York, New York 10018
                                           Attn: Scott S. Markowitz, Esq.


           Any person may change the address at which he, she or it is to receive notices for

 purposes of this Plan by sending written notice pursuant to this provision to the Debtor (or the

 Disbursing Agent) as provided in this Article.
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                                                  XIV

                                     MISCELLANEOUS PROVISIONS

 A.       Applicable Law

          Except to the extent that the Bankruptcy Code or other federal law is applicable, the

 rights and obligations arising under this Plan are governed under New York Law.

 B.       Unenforceability of Particular Provisions

          Should any provision in this Plan be determined to be unenforceable in whole or in part,

 such determination shall in no way limit or affect the enforceability and operative effect of the

 remainder of this Plan, including any of its provisions to the extent not determined to be

 unenforceable.

 C.       Revocation and Withdrawal Prior to Confirmation

          The Debtor reserves the right to revoke and withdraw this Plan prior to the Confirmation

 Date. If the Debtor revokes or withdraws this Plan, or if the Confirmation Date or the Effective

 Date does not occur, then this Plan shall be deemed null and void, and in such event nothing

 contained herein shall be deemed to constitute a waiver or release of any claim by or against the

 Debtor, or any other entity or to prejudice in any manner the rights of the Debtor, or any entity in

 any further proceedings involving the Debtor.

 D.       Amendment and Modification

          The Debtor may propose amendments to, or modification of, this Plan at any time at or

 before Confirmation. After Confirmation of this Plan, the Debtor may, with the approval of the

 Bankruptcy Court and so long as it does not materially adversely affect the treatment of any

 Claim, amend this Plan to remedy any defect or omission or reconsider any inconsistencies in

 this Plan or in the order of Confirmation as necessary or desirable to carry out the purpose and

 effect of this Plan.



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 E.       Post-Confirmation Professional Fees

          Subsequent to the Confirmation Date, the Debtor or the Reorganized Debtor shall be

 authorized and directed to pay reasonable professional fees and expenses relating to the post-

 confirmation administration of its estate and this Plan incurred by its Professionals.

 F.       Binding Effect of Plan

          Upon the Effective Date, all of the provisions of this Plan shall be binding on the Debtor,

 on all holders of Claims, and on all other entities who are affected (or whose interests are

 affected) in any manner by this Plan.

 Dated: New York, New York
        April 16, 2018



                                                     By:/s/ Hans Futterman
                                                            Hans Futterman



                                                     TARTER KRINSKY & DROGIN LLP
                                                     Attorneys for Hans Futterman
                                                     Debtor and Debtor-in-Possession


                                                     By: /s/ Scott S. Markowitz____________
                                                            Scott S. Markowitz
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                                                            New York, New York 10022
                                                            (212) 216-8000




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